Case 3:22-cv-30030-MRG Document 13-2 Filed 06/30/22 Page 1of3

SUPREME JUDICIAL COURT
for the Commonwealth
Case Docket

COMMONWEALTH vs. DAVID T. CHALUE
THIS CASE CONTAINS IMPGUNGED MATERIAL GR FIG

 

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SJC-12457
CASE HEADER )

Case Status Decided, Rescript issued Status Date 03/26/2021
Nature Murder1 appeal Entry Date 12/21/2017
Appellant Defendant Case Type Criminal
Brief Status Brief Due
Quorum Lenk, Gaziano, Lowy, Budd, Cypher, Kafker, JJ.
Argued Date 11/06/2020 Decision Date 02/23/2021
AC/SJ Number Citation 486 Mass. 847
DAR/FAR Number Lower Ct Number
Lower Court Berkshire Superior Court Lower Ct Judge C. Jeffrey Kinder, J.
Route to SJC Direct Entry: Murder 1

 

 

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Transcripts received: 28 volumes (on CD). Transcripts dates: 3/7/12, 7/12/12, 9/20/12, 10/11/13, 10/28/13, 11/21/13, 4/11/14, 4/14/14,
4/22/14, 4/23/14, 4/25/14, 4/28/14, 4/29/14, 4/30/14, 5/1/14, 5/5/14, 5/6/14, 5/7/14, 5/8/14, 5/9/14 (AM), 5/9/14 (PM), 5/12/14, 5/13/14,
5/14/14, 5/15/14 (AM), 5/15/14 (PM), 5/16/14 and 5/19/14 (Scanned)

ADDITIONAL INFORMATION

 

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( INVOLVED PARTY

Commonwealth
Plaintiff/Appellee

Red brief & appendix filed Jara Beth Ganguly, A.D.A. - Withdrawn

David T. Chalue

Defendant/Appellant
Blue br, app & reply br filed

7 Exts, 456 Days

ATTORNEY APPEARANCE
David F. Capeless, Special A.D.A.

 

 

Andrew S. Crouch, Esquire

 

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Appellant Chalue REDACTED Brief 6
Appellee Commonwealth Brief BS

DOCUMENTS

 

 

Entry Date
12/21/2017
04/25/2018

07/02/2018

10/01/2018

10/09/2018
10/12/2018
10/29/2018

11/08/2018
11/23/2018

Paper
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DOCKET ENTRIES
Entry Text
Entered. Notice to counsel.

MOTION to extend to 06/29/2018 filing of brief of David T. Chalue by Andrew S. Crouch, Esquire. (ALLOWED to June
29, 2018)

MOTION to enlarge time for filing brief to September 28, 2018, for the Appellant filed by Andrew S, Crouch, Esquire.
(ALLOWED to September 28, 2018, to provide additional time to investigate the motion for new trial or to complete
and file the brief.}.

MOTION to extend to 12/28/2018 filing of brief of David T. Chalue by Andrew S. Crouch, Esquire. (ALLOWED to
December 28, 2018, to provide additional time to investigate the motion for new trial or to complete and file the
brief.)

MOTION for Funds for Travel to Meet Client, filed for David T. Chalue by Andrew S. Crouch, Esquire.
ORDER: Motion for Funds to Travel is remanded to Berkshire Superior Court.

NOTICE OF STATUS CONFERENCE: A STATUS CONFERENCE has been scheduled in this matter for WEDNESDAY,
NOVEMBER 14, 2018, at 10:30 A.M., in Courtroom 1, John Adams Courthouse, One Pemberton Square, Boston,
Massachusetts. A status report shall be filed by November 5, 2018. (Botsford, J., presiding as Special Master).

STATUS LETTER from Andrew S. Crouch, Esquire.

NOTICE: The parties having appeared for a status conference before Special Master Margot Botsford on November
14, 2018, itis reported and recommended that the defendant's motion for new trial shall be filed on or before January
4, 2019. The defendant's brief shall be filed on or before May 30, 2019, and the Commonwealth's brief shall be filed
on or before August 28, 2019.

 

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01/04/2019

05/30/2019

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11/14/2019

11/15/2019

11/14/2019
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11/15/2019

11/22/2019
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09/17/2020
10/02/2020
10/20/2020

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trial shall be filed on or before January 4, 2019. The defendant's brief shall be filed on or before May 30, 2019, and
the Commonwealth's brief shall be filed on or before August 28, 2019. By the Court.

NOTICE OF AVAILABILITY OF ELECTRONIC FILING: The clerk's office will accept briefs, appendices, motions, status
reports, and correspondence through eFileMA effective immediately. Please note that after review and docketing of e-
filed briefs and appendices, the clerk will require a limited number of paper copies to be filed. Parties are free to file
their briefs and record appendices under the revised rules of appellate procedure prior to their effective date, March 1,
2019.

Motion to extend to date for filing of appellant's brief filed for David T. Chalue by Attorney Andrew Crouch.
(ALLOWED to June 28, 2019.)

Motion to extend to date for filing of appellant's brief filed for David T. Chalue by Attorney Andrew Crouch.
(ALLOWED to July 30, 2019. No further enlargements.}

Motion to extend to date for filing of appellant's brief filed for David T. Chalue by Attorney Andrew Crouch.
(ALLOWED to August 9, 2019. No further enlargements.)

Motion to extend to date for filing of appellant's brief filed for David T. Chalue by Attorney Andrew Crouch.
(ALLOWED to August 16, 2019. No further enlargements.)

Motion to extend to date for filing of appellant's brief filed for David T. Chalue by Attorney Andrew Crouch.
(ALLOWED to August 19, 2019. No further enlargements).

Appellant brief (contains references to impounded materials) filed for David T. Chalue by Attorney Andrew Crouch.
Appendix Volume 1 filed for David T. Chalue by Attorney Andrew Crouch.

Appendix Volume 2 (IMPOUNDED) filed for David T. Chalue by Attorney Andrew Crouch.

(SEALED) Appendix Volume 3 filed for David T. Chalue by Attorney Andrew Crouch.

MOTION to exceed the length limit filed for David T. Chalue by Attorney Andrew Crouch. (The appellant's motion to
exceed the length limit from 11,000 words to 22,243 words is denied without prejudice. The appellant may renew
the motion and if so, "shall specify the relevant issue or issues and why such issues merit additional pages or
words..." Mass. R. App. P. 20(a)(3}(G}}

MOTION to exceed page limit filed for David T. Chalue by Attorney Andrew Crouch. (ALLOWED, in part, to 18,000
words).

(IMPOUNDED) Appellant brief filed for David T. Chalue by Attorney Andrew Crouch.
Appendix Volume 1 filed for David T. Chalue by Attorney Andrew Crouch.

(IMPOUNDED) Appendix Volume 2 filed for David T. Chalue by Attorney Andrew Crouch.
(SEALED) Appendix Volume 3 filed for David T. Chalue by Attorney Andrew Crouch.

The clerk's office has received the appellant's brief and record appendices through e-fileMA. The brief has been
accepted for filing and entered on the docket. The appellant shall file with the clerk 4 copies of the brief and 3 copies
of each record appendix within 5 days. The clerk's office may require additional copies if necessary. The appellant
shall efile a redacted version of the brief.

Additional 4 copies of appellant's brief, 3 copies of each record appendix, record appendix (IMPOUNDED) and record
appendix (filed under seal}, filed by David T. Chalue.

LETTER from Berkshire Superior Court to supplement the record on appeal.

Motion to exceed word limit filed for Commonwealth by Joseph Pieropan, Special A.D.A.. (ALLOWED, in part, to
18,000 words.)

(Revised) Motion to exceed the word limit filed for Commonwealth by Joseph Pieropan, Special A.D.A.. (ALLOWED to
18,445 words.)

Appellee brief filed for Commonwealth by David Capeless, Special A.D.A..
Appendix filed for Commonwealth by David Capeless, Special A.D.A..

The clerk's office has received the Commonwealth's brief and appendix through e-fileMA. The brief has been
accepted for filing and entered on the docket. The Commonwealth shall file with the clerk 4 copies of the brief and 3
copies of the appendix within 5 days. The clerk's office may require additional copies if necessary.

Additional 4 copies of appellee's brief and 3 copies of record appendix filed by Commonwealth.
ORDERED for argument on May 8. Notice sent.

ORDER: Notwithstanding the court's Standing Order dated April 1, 2020, all briefs, including amicus briefs, shall be
timely filed in the absence of an enlargement of time.

Motion to reschedule oral argument filed for David T. Chalue by Attorney Andrew Crouch. (The motion to postpone
oral argument is ALLOWED. By the Court.)

Appearance filed for Commonwealth by Tara Beth Ganguly, A.D.A..

Withdrawal of appearance filed for Commonwealth by Tara Beth Ganguly, A.D.A..
NOTICE of October argument sent.

NOTICE of November argument sent.

ORDERED for argument on November 6. Notice sent.

(REDACTED) Appellant brief filed for David T. Chalue by Attorney Andrew Crouch.

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10/26/2020 #44

10/26/2020

11/06/2020

11/10/2020 #45
11/20/2020 #46
02/23/2021 #47

03/26/2021

As of 03/26/2021 3:20pm

Motion to extend to date for filing of appellant's reply brief filed for David T. Chalue by Attorney Andrew Crouch.
(ALLOWED to October 26, 2020}

The clerk's office has received the appellant's reply brief through e-fileMA. The brief has been accepted for filing and
entered on the docket. The appellant shall file with the clerk 4 copies of the brief by October 30, 2020. The clerk's
office may require additional copies if necessary.

Oral argument held. (Lenk, J., Gaziano, J., Lowy, J., Budd, J., Cypher, J., Kafker, J.}. View Webcast [7%
Additional 4 copies of appellant's reply brief filed by David T. Chalue.
LETTER from Attorney Andrew Crouch to request an audio recordings of oral argument. (Copy sent)

RESCRIPT (Full Opinion): For the reasons stated in the opinion, we conclude that the verdicts of murder in the first
degree are consonant with justice, and we decline to exercise our authority under G. L. c. 278, § 33E, to order a new
trial or direct the entry of verdicts of a lesser degree of guilt. Judgments affirmed. (By the Court)

RESCRIPT ISSUED to trial court.

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